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                               In the United States District Court
                              For the Eastern District of Kentucky
                                Northern Division at Covington

Stephanie & Bryan Soper                           :
           Plaintiffs                             :   Case No. 2:15cv055‐WOB‐CJS
                                                  :
                                                  :
vs.                                               :
                                                  :   Judge Bertelsman
Blackstone Financial Group, LLC.,                 :
et al.                                            :   Magistrate Judge Smith
            Defendants                            :


                       Notice of Voluntary Dismissal with Prejudice

        Now come the Plaintiffs, pursuant to civil rule 41(a)(1)(A)(I), and hereby

give notice that they dismiss this action, including all claims against ALL

Defendants, WITH PREJUDICE.


/s/Steven C. Shane                             
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                               Certificate of Service

       I hereby certify that I electronically filed the foregoing document with the
Clerk of the Court using CM/ECF.  I also certify that the foregoing document is
being served this day on all counsel of record or pro se parties identified on the
attached Service List in the manner specified, either via transmission of Notices
of Electronic Filing generated by CM/ECF or in some other authorized manner
for those counsel or parties who are not authorized to receive electronically
Notices of Electronic Filing.

                                             /s/Steven C. Shane                                  
